Case No. 1:15-cr-00149-RM Document 140 filed 06/26/15 USDC Colorado pg 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                   Hon. John L. Kane

Criminal Case No. 15-cr-00149-JLK

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.   RAUL CARAVEO,
2.   PAMILA LUCERO,
3.   SABRINA CARAVEO,
4.   EUGENE CHAVEZ,
5.   CAROLINA ARAGON,
6.   CRISTINA PORTILLOS,
7.   CONRAD ARCHULETA, and
8.   NANCY GUZMAN,

       Defendants.



       ORDER REGARDING DISCLOSURE OF GRAND JURY MATERIALS TO
          ATTORNEYS FOR DEFENDANTS ARCHULETA AND GUZMAN


       Upon consideration of the Government’s Motion to Disclose Copies of Grand Jury

Materials under Specified Conditions to the Attorneys for Defendants Archuleta and

Guzman Pursuant to Fed. R. Crim. P. 6(e)(3)(E)(i), it is

       ORDERED that a copy of the transcripts of testimony given before the grand jury

and related exhibits be disclosed to the attorneys for Defendants Archuleta and Guzman

for preparation for trial.

       IT IS FURTHER ORDERED THAT:

       1. Defense counsel make only such copies as are necessary to prepare a

                                            1
Case No. 1:15-cr-00149-RM Document 140 filed 06/26/15 USDC Colorado pg 2 of 2




      defense of this criminal case;

      2. Defense counsel keep a written record concerning how many copies

      were made, to whom those copies were delivered, and the date of delivery,

      and that defense counsel deliver a copy of this Order allowing disclosure

      with the materials;

      3. Defense counsel provide the defendants with reasonable access to the

      grand jury materials, but that defense counsel not allow the defendants to

      retain copies of any grand jury materials;

      4. No person, other than defense counsel, make any copy of the grand

      jury materials for any purpose; and

      5. At the conclusion of the case in this Court, by entry of the Court’s

      judgment, defense counsel collect all such copies and return them to the

      government within ten days.



      Plaintiff’s Motion to Disclose Copies of Grand Jury Materials (Doc. 136) is

GRANTED.

      Dated this 26th day of June, 2015.



                                           BY THE COURT:




                                           __________________________________
                                           John L. Kane
                                           Senior U.S. District Court Judge

                                             2
